19-12547-jlg   Doc 10     Filed 08/29/19    Entered 08/29/19 15:31:51           Main Document
                                           Pg 1 of 31



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
MANHATTAN DIVISION
IN RE
                                                        CHAPTER 7
RONNIE BOZEMAN
                                                        CASE NO. 19-12547-jlg

                     DEBTOR                             JUDGE: James L. Garrity, Jr.

                                                        MOTION DATE: October 1, 2019

                                                        MOTION TIME: 10:00am


        PLEASE TAKE NOTICE that upon the annexed affirmation of Nicole DiStasio, an
associate of the law firm of Shapiro, DiCaro & Barak, LLC, attorneys for Wells Fargo Bank,
N.A. as Servicer for U.S. Bank National Association, as Trustee, successor in interest to
Wachovia Bank, National Association, as Trustee for Wells Fargo Asset Securities Corporation,
Mortgage Pass-Through Certificates, Series 2005-16 ("Movant") will move this Court as set
forth below:


JUDGE:                      HON. James L. Garrity, Jr.

RETURN DATE & TIME:         October 1,2019 at 10:00am

COURTHOUSE:                 United States Bankruptcy Court
                            Alexander Hamilton Custom House
                            One Bowling Green
                            New York, NY 10004

RELIEF REQUESTED:           The proposed order will seek to confirm that no automatic stay
                            was nor is in effect under 11 U.S.C. § 362(a) against subject
                            property generally described as 490 Keller Avenue, Elmont, New
                            York 11003, pursuant to 11 U.S.C. § 362(c)(4) so that Movant
                            may take any and all steps to complete the closing of the
                             foreclosure sale that took place August 6, 2019.




18-071553
19-12547-jlg      Doc 10    Filed 08/29/19     Entered 08/29/19 15:31:51       Main Document
                                              Pg 2 of 31


         PLEASE TAKE FURTHER NOTICE, that answering affidavits, if any, to the relief

requested, must be served upon and received by Shapiro, DiCaro & Barak, LLC at their offices

at 175 Mile Crossing Boulevard, Rochester, NY 14624 and filed with the Clerk of the United

States Bankruptcy Court for the Southern District ofNew York at United States Bankruptcy

Court, Alexander Hamilton Custom House, One Bowling Green, New York, NY 10004 no later

than seven (7) days prior to the return date of this motion.


Dated:      August 29,2019
            Rochester, New York



                                              Is/Ttccoie
                                              Nicole DiStasio
                                              Bankruptcy Attorney
                                              Shapiro, DiCaro & Barak, LLC
                                              Attorneys for Wells Fargo Bank, N.A. as Servicer
                                              for U.S. Bank National Association, as Trustee,
                                              successor in interest to Wachovia Bank, National
                                              Association, as Trustee for Wells Fargo Asset
                                              Securities Corporation, Mortgage Pass-Through
                                              Certificates, Series 2005-16
                                              175 Mile Crossing Boulevard
                                              Rochester, New York 14624
                                              Telephone: (585) 247-9000
                                              Fax: (585) 247-7380


THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE. THIS NOTICE IS REQUIRED BY
THE PROVISIONS OF THE FAIR DEBT COLLECTIONS PRACTICES ACT AND
DOES NOT IMPLY THAT WE ARE ATTEMPTING TO COLLECT MONEY FROM
ANYONE WHO HAS DISCHARGED THE DEBT UNDER THE BANKRUPTCY LAWS
OF THE UNITED STATES.

TO:      SERVICE LIST




18-071553
19-12547-jlg     Doc 10     Filed 08/29/19    Entered 08/29/19 15:31:51          Main Document
                                             Pg 3 of 31


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
MANHATTAN DIVISION
IN RE
                                                             CHAPTER 7
RONNIE BOZEMAN
                                                             CASE NO. 19-12547-jlg

                       DEBTOR                                JUDGE: James L. Garrity, Jr.

                                                             MOTION DATE: October 1,2019

                                                             MOTION TIME: 10:00am


                            AFFIRMATION IN SUPPORT OF AN
              ORDER CONFIRMING AUTOMATIC STAY NOT IN EFFECT



        Nicole DiStasio, an attorney at law duly admitted to practice before the Courts of the

State of New York and the U.S. District Court for the Southern District of New York, hereby

affirms the following to be true under penalty of peijury:

        1. I am an associate with the law firm of Shapiro, DiCaro & Barak, LLC, attorneys for

Wells Fargo Bank, N.A. as Servicer for U.S. BankNational Association, as Trustee, successor in

interest to Wachovia Bank, National Association, as Trustee for Wells Fargo Asset Securities

Corporation, Mortgage Pass-Through Certificates, Series 2005-16 ("Movant"), a secured creditor

of Ronnie Bozeman ("Debtor"). As such, I am fully familiar with the facts and circumstances of

this case.


        2.   I make this Affirmation in support of the within request for an Order Confirming the

automatic stay is nor was in effect pursuant to 11 U.S.C. § 362(c)(4) at the time of filing due to

the multiple bankruptcy filings affecting real property located at 490 Keller Avenue, Elmont, NY

11003 (the "Property").




18-071553
19-12547-jlg     Doc 10    Filed 08/29/19    Entered 08/29/19 15:31:51        Main Document
                                            Pg 4 of 31


        3. Jurisdiction is conferred on this Court by the provisions of 28 U.S.C. § 1334. This is

a proceeding to terminate and annul the automatic stay and is therefore a "core" proceeding

within the meaning of 28 U.S.C. § 157(b)(2).

        4. Debtor filed the instant petition for relief under Chapter 7 of the U.S. Bankruptcy

Code on or about August 6,2019 (the "Current Case").

        5. Movant initiated foreclosure proceedings in the Supreme Court of the State of New

York, County of Nassau, under index number 13858/2013 (the "Foreclosure Case"). Judgement

of Foreclosure and Sale ("JFS") was entered December 14, 2016. A copy of the JFS is annexed

hereto as Exhibit "A".


        6. A foreclosure sale was duly scheduled for August 6,2019 in accordance with the JFS;

a sale was held and the Property was sold to a third-party purchaser with a closing currently

pending. Annexed hereto as Exhibit "B" are copies of the Terms of Sale and Memorandum of

Sale.


        7.     On March 28, 2017 a voluntary petitionwas filed by RonnieA. Bozeman, in the

Bankruptcy Courtfor the Eastern District of New Yorkunder Chapter 7 as Case No. 8-17-

71808-reg (the "First Case"). The Debtor received a Chapter 7 discharge; an Order Discharging

Debtor was entered July 12,2017 and the bankruptcy case was closed the sameday.

         8. On March 29, 2018, a volimtary petition was filed by Ronnie A. Bozeman in the

Bankruptcy Court for the Eastern District of New York under Chapter 13 as Case No. 8-18-

72134-reg (the "Second Case"). The Second Case was initially a deficient filing without all the

required schedules. Although Debtor attempted loss mitigation in the Second Case, it was
ultimately unsuccessful and Movant filed a Motion for Relief from the Automatic Stay on

January 2, 2019. Although it was continued while loss mitigation was pending, the Trustee filed



18-071553
19-12547-jlg     Doc 10    Filed 08/29/19     Entered 08/29/19 15:31:51         Main Document
                                             Pg 5 of 31


a motion to dismiss on June 8, 2018. After the termination of loss mitigation,Debtor filed a letter

of no opposition to the Motion to Dismiss. Prior to the hearing scheduled for the Motion for

Relief, the Second Case was dismissed pursuant to the Order Dismissing Case entered February

5, 2019.

      9.       On April 8,2019 a voluntary petition was filed by Ronnie Aurthur Bozeman in

the Bankruptcy Court for the Eastern District of New York under Chapter 13 as Case No. 8-19-

72518-reg ("Third Case"). The Third Case was a pro se, barebones filing, without all the

required schedules and was ultimately dismissed pursuant to 11 U.S.C. § 521(i)(l) for the

Debtor's failure to file information, as required under 11 U.S.C. § 521(a)(1). A Notice of

automatic dismissal was entered on May 29,2019.

       10. Pursuant to 11 U.S.C § 362(c)(4), because the Second Case and the Third Case

bankruptcy cases were pending within the last year and resulted in dismissals, and because the

exception listed does not apply, the Current Case did not trigger the automatic stay that would

otherwise be in effect under 11 U.S.C. § 362(a). Due to the two previously dismissed cases the

automatic stay does not apply.

       11. The Debtor, the Chapter 7 Trustee and the Office of the United States Trustee have

each been duly served with the within Notice of Motion, Affirmation, Exhibits and proposed

Order Vacating Stay, as more fully set forth in the annexed affidavitof mailing.

       12. No prior applicationhas been made for the relief requested herein.




18-071553
19-12547-jlg      Doc 10     Filed 08/29/19    Entered 08/29/19 15:31:51       Main Document
                                              Pg 6 of 31




         WHEREFORE, Movant respectfully requests that an Order be entered confirming the

automatic stay was not in effect at the time the foreclosure sale took place for the the real

property located at 490 Keller Avenue, Elmont, NY 11003; together with such other and further

relief as the Court may deem just and proper.

Dated:      August 29,2019
            Rochester, New York



                                              Is/TUcoCe *DiSta^
                                              Nicole DiStasio
                                              Bankruptcy Attorney
                                              Shapiro, DiCaro & Barak, LLC
                                              Attorneys for Wells Fargo Bank, N.A. as Servicer
                                              for U.S. Bank National Association, as Trustee,
                                              successor in interest to Wachovia Bank, National
                                              Association, as Trustee for Wells Fargo Asset
                                              Securities Corporation, Mortgage Pass-Through
                                              Certificates, Series 2005-16
                                              175 Mile Crossing Boulevard
                                              Rochester, New York 14624
                                              Telephone: (585) 247-9000
                                              Fax: (585) 247-7380




18-071553
19-12547-jlg        Doc 10      Filed 08/29/19       Entered 08/29/19 15:31:51     Main Document
                                                    Pg 7 of 31


SHAPIRO, DICARO & BARAK, LLC
Attorneys for Wells Fargo Bank, N.A. as Servicer for U.S.
Bank National Association, as Trustee, successor in
interest to Wachovia Bank, National Association, as
Trustee for Wells Fargo Asset Securities Corporation,
Mortgage Pass-Through Certificates, Series 2005-16
175 Mile Crossing Boulevard
Rochester, New York 14624
Telephone: (585) 247-9000, Fax: (585) 247-7380
Nicole DiStasio


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
MANHATTAN DIVISION
IN RE                                                       CHAPTER 7


                  RONNIE BOZEMAN                            CASE NO. 19-12547-jlg

                                                            JUDGE: James L. Garrity, Jr.
                          DEBTOR
                                                            MOTION DATE: October 1, 2019

                                                            MOTION TIME: 10:00am



                                 AFFIDAVTT OF SERVICE BY MATL


STATE OF NEW YORK                  )
                                   )ss:
COUNTY OF MONROE                   )


        I, Lora Mosher, being sworn, say, I am not a party to this action; I am over 18 years of

age, I reside in Rochester, New York.

        On                   , 2019 I served the within Notice of Motion, Affirmation in Support,

Exhibits and Proposed Order Confirming No Stay upon:

TO:       Debtor Appearing Pro Se
          Ronnie Bozeman
          490 Keller Avenue
          Eimont, NY 11003-3733




18-071553
19-12547-jlg      Doc 10      Filed 08/29/19         Entered 08/29/19 15:31:51      Main Document
                                                    Pg 8 of 31


        Co-Borrower
        Keturah Sapp
        490 Keller Avenue
        Elmont, Nev^' York 11003

        Trustee
        Gregory Messer
        Law Offices of Gregory Messer, PLLC
        26 Court Street
        Suite 2400
        Brooklyn, NY 11242

        U.S. Trustee
        U.S. Federal Office Building
        201 Varick Street, Suite 1006
        New York, NY 10014


at the addresses designated by the foregoing individuals for that purpose by depositing a true

copy of same enclosed in a postpaid, properly addressed wrapper, in an official depository under

the exclusive care and custody of the United States Postal Service within the State of New York.


Date BLmsiZR, 2,0
                                                          Lora Mosher
                                                          Bankruptcy Assistant
                                                          Shapiro, DiCaro & Barak, LLC
                                                          Attorneys for Wells Fargo Bank, N.A. as
                                                          Servicer for U.S. Bank National Association,
                                                          as Trustee, successor in interest to Wachovia
                                                          Bank, National Association, as Trustee for
                                                          Wells Fargo Asset Securities Corporation,
                                                          Mortgage Pass-Through Certificates, Series
                                                          2005-16
                                                          175 Mile Crossing Boulevard
                                                          Rochester, New York 14624
                                                          Telephone: (585) 247-9000
                                                          Fax: (585) 247-7380
       to before me this       ,             ^
       day of3LmML_, 20 R

Notary Public
                           ELIZABETH FRANKLIN
                       Notary Public, State of New York
                              No. 01FR6393248
                         Qualified in Monroe County
18-071553
                     Commission Expires June 10, 20^
19-12547-jlg       Doc 10    Filed 08/29/19    Entered 08/29/19 15:31:51         Main Document
                                              Pg 9 of 31


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
MANHATTAN DIVISION
IN RE
                                                          CHAPTER?
RONNIE BOZEMAN
                                                          CASE NO. 19-12547-jlg

                        DEBTOR                            JUDGE: James L. Garrity, Jr.

                                                          MOTION DATE: October 1,2019

                                                          MOTION TIME: 10:00am


                ORDER CONFIRMING AUTOMATIC STAY NOT IN EFFECT



          UPON consideration of the Application of Wells Fargo Bank, N.A. as Servicer for U.S.

Bank National Association, as Trustee, successor in interest to Wachovia Bank, National

Association, as Trustee for Wells Fargo Asset Securities Corporation, Mortgage Pass-Through

Certificates, Series 2005-16 ("Movant") dated August 29,2019, and it appearing that neither the

Debtor nor the Chapter 7 Trustee nor the U.S. Trustee have oppositionto the motion broughtby

Movant, for relief from the automatic stay, and with good cause appearing therefore

          ORDERED that no automatic stay that would otherwise be in effect under 11 U.S.C. §

362(a) is, nor was, in effect as of the date the foreclosure sale took place with respect to Movant,

its agents, assigns or successors in interest, so that Movant may continue any and all actions

pursuant to the Note and Mortgage and applicable state law, including, but not limited to, close

on the foreclosure sale on premises known as 490 Keller Avenue, Elmont, NY 11003; and it is

further




18-071553
19-12547-jlg     Doc 10     Filed 08/29/19     Entered 08/29/19 15:31:51     Main Document
                                             Pg 10 of 31


       ORDERED that in the event this case is converted to a case under any other chapter of

the U.S. Bankruptcy Code, this Order will remain in full force and effect.




18-071553
19-12547-jlg   Doc 10   Filed 08/29/19     Entered 08/29/19 15:31:51   Main Document
                                         Pg 11 of 31




                                         Exhibit "A"
19-12547-jlg     Doc 10      Filed 08/29/19      Entered 08/29/19 15:31:51             Main Document
                                               Pg 12 of 31




          ORIGINAL                                                lAS Teim Part FP of the Supreme
                                                                 Court of the State of NewYork, held
                                                                  in and fof the County of NASSAU,
                                                                 at the Courthouse thereof located at
                                                                 100 Supreme Court Drive, Mincola,
                                                                 New York 11501, onthe           day of
     PRESENT:                                                    OCT 272SV
     HON. THOMAS A. ADAMS JSC


     SUPREME COURTOF THE STATE OF NEW YORK
     COUNTY OF NASSAU

     US BANK NATIONAL ASSOCIATION, AS                           Index No.: 13858-33
     TRUSTEE, AS SUCCESSOR TRUSTEE TO
     WACHOVIA BANK, NATIONAL ASSOCIATION
     AS TRUSTEE FOR WELLS FARGO ASSET
     SECURITIES CORPORATION, MORTGAGE
     PASS-THROUGHCERTIFICATES, SERIES 2005-
     16
                                                 Plaintiff,    D/O/F:
                           -against-                                 JUDGMENT OF
                                                                  FORECLOSURE AND
                                                                          SALE
     RONNIE A. BOZEMAN; KETURAH L SAPP;                        Premises Address:
                                                                        Address;
     WELLS FARGO BANK N. A.,                                   490 KELLER
                                                               490 KELLER AVENUE
                                                                            AVENUE ''
                                                                ELMONT, NY 11003-3733
                                              Defendant(s),

             On the Summon^tbtVi'iJlaint an^Notice ofPendency ofAction heretofore filed in this
     action on November l€^0\S, and Notic^fPendency Action renewed on ^ptember 1,2016;
     and all proceedings thereon; and on readiiig and filing the Affirmation ofRegularity of^HAWN
     A. BRENHOUSE, ESQ., signed on NovemlSci^3,2015, showing that eacK of the Defendants
     herein have been duty served with the Summon^nd Complaint in this action, or have
     voluntarily appeared by their respective attorneys,and sating that more than the legally required

     number of days had elapsed since said Defendant were^ served and/or appeared; and that none
     ofthe Defendants had served any answer to said Con^laint; nor had their time to do so been
     extended or, if they had served an answer, it was dismissedby summary judgments or stipulation
   19-12547-jlg                   Doc 10            Filed 08/29/19          Entered 08/29/19 15:31:51                         Main Document
                                                                          Pg 13 of 31


• •> >..        • V • • •••;.• • •. ;• v • ••;'•• :•. >. •;•-.••   • '•• • • •••; ••• - ••' •'• "••• ••• •••• •• -       ••• v• >•,>. V:         ;• •:   •••'- •• >••
           ••                        ^         ••   •                                                                •        *            • •   •        -I




                   ^Ttfiyjarties.                       ihagtteched aflsSvii ofmailing reflating coff$)liance with CPJ-R .
                   j2I5(gX3Xiii); Mid that the Complaint herein and Nc^oe ofP^den^ ofthis acticm containing
                   all the particulars required to be stated Uierein was duly fiTcd in the Office offieClerk ofthe
                   Coun^ ofNassau on Novei^ber 15,2013; and an Order Granting Summary Judgment,
                   Aj^inting aReferee to Compute and Am^ding Cation having been duly executed whereby a
                   Referee was appointed to compute the amount due to the Plaintiffupon &e bond/note and
                   mortgage set forth in the Complaint and said Referee having examined and reported whether the
                   mortgaged premises can be sold in paf^ls,
                         AND, on the reading dfid filing'^ report ofMALACHY PATRICK LYONS, JR., ESQ.,
                  the Referee named insaid'Order, by which Report, bearing date 8ie July 23,26l 5,itappears thaJ
                   the sum ofS382,303.57''^bs due thereon atthe date computed to on said Report and that the
                  mortgaged premises cannot besi51d in parcels.

                             NOW, upon proofof due notice ofthisapplication upon'all parties who hadnotwaived
                  the same.,

                            ORDERED, thatthe motion is hereby granted withouK>pposition; andit is further
                            ORDERED, that the said Report of the sai^Referee be, and the same is hereby in all
                  respects ratified and confirmed; md it is further

                            ORDERED, tiiat the mortgaged premises, as described in tiie Complaint in this actionbe

       -^soldat public auction at the Calendar Control Part fCCP^ Conrtrooro of the Sunremc Court
                  100 Supreme Court Drive. Mhieola> NY IISOI **ob T^iesdavat 13;30 am** by and under the

                  direction of MALACHY PATRICK LYONS, JR., ESQ., Fiduciary Number 7<?
                  who is hereby appointed Referee for that purpose; tirnt the said Referee give public noticeof the

                  time and place of such sale according tojjw ao^l i|i& practice of this Court, in an official
                                                                    FLORAL PARKOULLETIN
                .publication to wit:                                    Ri25?PA?KNv                                               o' in any
   19-12547-jlg                    Doc 10               Filed 08/29/19                Entered 08/29/19 15:31:51                          Main Document
                                                                                    Pg 14 of 31


i •. ••. ; . s..; •••. •.         \ _» •.• ». . •. •.   •. • . • • •• •. , . ... ••.;.••,   ;• ••: .• : • ••. ! . •.">   •. • *; '•• .   *•. •. "•. •   ^ .'• V V ' •   •
                                                                                                                                                          •••v


                 publication in compliance with RPAPL 231; and it is ftirther

                             ORDERED, that the Ref^ at the time ofsale may accept a written bid ftom the
                 Plaintiffor the PlaintiiTs attorneys, just as though the Plaintiffwere physically present to submit
                 said bid; and it is fluther

                            ORDERED, that the premises be sold in "as is" condition defined as the condition the
                premises are in as ofthe date ofsale and continuing through the date ofclosing, and that said
                sale shall be subject to;

                            (a)                              Rights of the public and others mand to any part of the mortgaged
                                               premises that lies within the bounds of any street, alley, or highways,
                                               restrictions and easementsofrecord;




                            (b)                             Any state of facts that an accurate, currently dated survey might
                                              disclose;

                            (c)                              Rights of tenants, occupants or squatters, if any. It sh^l be the
                                            . responsibility of the Purchaser to evict or remove any parties in possession of

                                              premises being ibreclosed. There shall be no pro-rata adjustmem in favor of
                                              the purchaser for any rents that are paid for a period after the date of the

                                              foreclosure sale.


                            (d)                             The right of redemption of the United States of America, ifany;and it
                                              is further




                            ORDERED, thatthe Plaintiffor anyotherparties to this action maybecome the
19-12547-jlg      Doc 10      Filed 08/29/19          Entered 08/29/19 15:31:51                Main Document
                                                    Pg 15 of 31




      purchaser or purehasers at such sale; that in case the Plaintiffshall become the putdiascr atthe
      said sale, itshall not be required to make any dqsosit thereon; and itis fiirther

              ORDERED, that the Referee conducting the sale shall pay out ofthe proceeds ofsale all
      taxes, asse$sm«its, sewer rents and water rates which are liens upon the property attime ofsale.
      Purchaser shall be responsible for interest due on any real property tax liens accruing after the
      first day ofthe month following the foreclosure sale; and itis flirther

              ORDERED, that the Reforee then take the remaining proceeds ofsale and deposit them
     in his/her ownname as Referee inhisaccount orotherseparate account
              .                      {laNATURBBAliK"'
                                     JMPRA^KliNAVC
                                     3AftMM riTY, Nv 11JM                                            and m

     addition toexecuting a deed tothe purchaser(s) ofthepremises sold, shall Uiereaiter make the
     following payments and his/her checks drawn for that purpose;

             FTRBT. Puisuaut lu OPLR §Q003(a)> a fee, orSgOO.OO shall bepaid totlie Referee for tlic^



             SECOND: Thestatutory fees of said Reieree. MALACHYPATRICK LYONS, JR.,

     ESQ., for conducting thesale ofSj^jTcf - asand forhis fee for conducting thesale, pursuant to
     CPLR §8003(fe)

             THIRD: The Referee shallpay thecostsof advertising/posting as listed on bills

     presented to andcertilied bythe Referee to becorrect, duplicate copies ofwhich shallbe
     annexed to the reportofsale whenfiled.

             FOURTH: Said Referee shall alsopayto the Plaintiffor itsattorney the following; Costs
     and Disbursements. $ rs^/'3.^                          adjudged to the Plaintifffor costs and
                                      -co
     disbursements in thisaction, to be taxed by theclerkand inserted herehi, with interest at thelegal
     rate thereon fix>m the date of entry hereof.
19-12547-jlg     Doc 10       Filed 08/29/19       Entered 08/29/19 15:31:51              Main Document
                                                 Pg 16 of 31




             Additional Allowance. $ JiPp.c.\5>                       is hereby awarded to the Plaintiffin
      addition to costs with interest at the legal rate thereon firom the date ofentiy hereof.
             Amount Due per Referee's Report S382.303.5'7 said amount so i^orted due as
     afbiiesaid together with interest at the rate in Ae note and mortgage ttereon from the dated
     computed to in said Report until the date tSfentry ofthis judgment, with inicrcs! ai ihc i»ia{utor>
     rate thereon until the date oftransfer ofthe Referee*s Deed, or so much oftKe purcliase money as
     will the same, and that he/she take areceipt for said p^rment an(f^le it witii his/her rqx>rt of
     sale.


             Attorney Fees.              ishereby awarded tothe Plaintiffasreasonable legal fees
     herein, with legal interest from the date ofentry ofjudgment.

             Plaintiff may, al^er entry ofthis judgment, add totheamount due any and alladvances
     made by Plaintifffor inspection fees, maintenance chaigcs, taxes insurance premiums orother
     advances necessary to preserve the property, whether or notsaidadvances weremadepriorto or
     afterentry ofjudgment, so long assaid charges were notincluded intheReferee's Report, and
     the Referee be provided with receipts for said expenditures, all together withinterestthereon

     pursuant to the note and mortgage, fhim the date ofthe expense until thedateofentry ofthis

     Judgment,then with interestat the legal rate until the date of transfer ofthe Referee's Deed.

             FIFTH: That in case the Plaintiffbe the purchaserofsaid mortgaged premises at said

     sale, said Refereeshall not require the Plaintiffto pay in cash the entireamountbid at said sale,

     but shall execute and deliver to the Plaintiff a Deed of the premisessold upon the payment to

     said Referee of the amounts specified above in items marked '*FIRST*, "SBCOND"tod

     **THIRD"; Thot'thebalance of theamount bid, afterdeducting the amounts paid by the Plaintiff,
     for Referee's fees, and advertising expenses, shall be allowed to the Plaintiffand appliedby said
19-12547-jlg     Doc 10       Filed 08/29/19     Entered 08/29/19 15:31:51             Main Document
                                               Pg 17 of 31




      Referee upon the amounts due to the Plaintiffas ^}eeiiSed above in item mariied "FOURTH** that
      ifappl)dng the balance ofthe amount bid, there shall be asurplus over and above said amounts
      due to the Plaintiff, the Plaintiffshail pay the same to said Referee, who shall deposit the funds
      inaccordance with paragraph "SIXTH** below.

              SIXTH: The referee shall take receipts for the money so paid out by him and file the
      same with his repon ofsale, and that he deposit tiie sutplus moneys, ifany, with the Nassau
     County Treasurer within five (5) days after same shall be received and be ascertainalde, to the
     credit ofthis acdon, to be withdrawn only upon the written order ofthis Court, signedby a
     Justice ofthis Court; that the Referee make his/her report ofsuch sale under oath showing the
     disposition ofthe proceeds ofthe sale accompanied by the vouchers ofthe person to whom the
 "^payments were made and file it with the ClerkoffiS^Siw^intiSty (30) daysofcompleting
     the sale, and exMuting the proper conveyance to the purchaser. Ifthe proceeds ofsuch sale be
     insufficient topay the amount reported due the Plaintiff with interest and costs asaforesaid, the
     Plaintiff may recover ofthe Defendants, RONNIE A. BOZEMANANDKETLIRAHLSAPP, the
     whole deficiency orsomuch thereofas the Court may determine to bejust and equit^le ofthe'
     mortgage debt remaining.unsatisfied After the sale ofthe mortgaged and the application ofthe -
     proceeds thereof, provided a motion for a deficient^ Judgment shall be made asprescribed by
     Section 1371 of theReal Property Actions and Proceeding Law within the time limited therein,
     and theamount thereofisdetermined and awarded byan order ofthis Court asprovided for in
     said action; and it is further

            ORDERED, that the purchaser or purchasers at said sale be let into possession on
     production ofthe Referee's deedor deeds;and it is further

            ORDERED, that each and all ofthe Defendants inthis action and all persons claiming
     under them or any oreither of them, after the filing ofthe Notice ofPendency ofttils action, be
19-12547-jlg     Doc 10      Filed 08/29/19        Entered 08/29/19 15:31:51              Main Document
                                                 Pg 18 of 31




      and they hereby are, barred and foreclosed ofall right, claun, lien, title interest and equity of
      redemption in said mortgaged premises, and each and eveiy pan thereof; and itis further

             ORDERED, that the liens of the Plaintiff other than the mortgage or mor^ges that are
      the subject matter ofthis a&tion also be foreclosed herein as though the Plaintiflfwas named as a
     party Defendiant» specifically reserving to the Plaintiff its ri^t to share in any surplus monies as
     a result of suchposition as a liencreditor; and it is fiirther

             ORDERED, diatbyaccepting this appointment, the Reftree certifies thathe/she isin
     compliance with Part 36 ofthe Rules ofthe ChiefJudge (22 NYCRR, Part 36), including, but not
     limited to36.2(c) (disqualification from appointment**) and 36.2(d) ^Limitations on
     ^pointments based upon compcnsation*0 and ifthe Reiezee isdisqualified from receiving an
     appointment pursuant to the provisions ofthat Rule, the Hefeiee shall notify the Appointing
     Judge forthwith; and it is further

            ORDERED, thatpursuant to CPLR 8003(b), absent application to the court, further court
     order, and compliance with Part 36 of the Rules of the Chief Judge, the Referee shall not

     demand, accept or receive more than the statutory                otherwise payable to the Referee for

     the foreclosure sale stage, regardless ofadjournment, delayor stay of the sale;and it is further

            ORDERED, that the Rei^ee is prohibited from accepting or retaining any funds for
     him/herself or paying fimds to him/herself without compliance with Part 36 of the Rules of the

     ChiefAdministrative Judge.

            ORDERED, diat the Referee appointed to sell herein be served with a signed copy of

     this Judgment of Foreclosure and Sale with noticeofentry; and it Is further

            ORDERED, that the Referee must submit the Notice of Sale to the Motion Siq)port

     Office, in the SupremeCourt, Room 152at leastten (10) days prior to the dateof auction; and it
19-12547-jlg       Doc 10   Filed 08/29/19      Entered 08/29/19 15:31:51              Main Document
                                              Pg 19 of 31




      isftirther


             ORDERED, that no sale of the premises will be scheduled, and the Court will not place
      the above captioned matter on the caloidar for auction, nor will the Court accqn a Notice of
      Salci unless and until an "Affidavit in Support ofResidential Mortgage Foreclosure" issubmitted
     by-the Plaintiif stating that all Federal, State and Local Statutes. Laws, Rules and Regulations,
     Mandates and Executive Orders with respect to Mortgage Foreclosure, Foreclosure Prevention
     and. Home Retention, as well as all conditions precedent to the commencement of an action to
     foreclose a residential mortgage, have been complied with inthe instant action.

     That a description of the said mortgage premises hereinbefore mentioned, is annexed to this
     Judgment and made a part thereofasSchedule A- Legal Description.

      Dated:


           OCT 2 ? 2018-


                                                               Hon. Thomas A. Adams
                                                            Justice ofthe Supreme Court




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Pg 20 of 31




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19-12547-jlg       Doc 10    Filed 08/29/19        Entered 08/29/19 15:31:51         Main Document
                                                 Pg 21 of 31




      SUPREME COURT OFTHE STATE OFNEW YORK
      COUNTY OF NASSAU

     US BANK NATIONALASSOCIATION, AS TRUSTEE,
     AS SUCCESSOR TRUSTEE TO WACHOVIA BANK,
     NATIONAL ASSOCIATION AS TRUSTEE FOR
     WELLS    FAROO               ASSET   SECURITIES
     CORPORATION,                MORTGAGE      PASS-
     THROUQHCERTIFICATES, SERIES 2005-16,
                                           Plaintiff,                  Index No.; 13858-13

             -against-
                                                                       COSTS OFPLAINTIFF
     RONNIEA. BOZEMAN. et al.
                                           Defendants.

     Costsbefore Notes of Issuefiled,
     CflRmUn.                                             .$200.00
     Additional Allowance by Statute - CPLR S8302fa^rt>V
     add].(not exceeding $200) $200at 10%...S20.00
     addl.(not exceeding $800) $800at 5%...$40.00
      " (not exceeding $2000)$2000at 2%...$40.00
      " (not exceeding $5000)$5000at 1%...$50.00          .$150.00

     Addition^ AUowance byStatute - CPLRS8302rd\ $50.00
                                       FEES AND DISBURSEMENTS
     Fee for Index Number and Filing Lis Pendens
     CPLR 8018(a),8021(aX10)                              $594.00
     Paid for searches                                    $791.93 SXX**
     Serving copy of summons andcomplaint
     CPLR 8011(c), 8301(d)                                $^6:60
     Request for Judicial fotervention                     $95.00
     Referee's fee (CPLR 8301(a)(1), 8003(a)).            .$500.00
     Certified copyofjudgment                               .$4,00
     Motion fees                                           ^190.00
     Clerk's fee, filing amended notice ofpendency.       $345.00
                                                                                oo



    Taxed at $                  this        day of                   .20



                                                         Cleik
19-12547-jlg    Doc 10     Filed 08/29/19       Entered 08/29/19 15:31:51          Main Document
                                              Pg 22 of 31




      STATE OF NEW YORK                  )
      COUNTYOFDUTCHESS                   j"
           The undongned, an attorney admitted to practice in the Courts of&is Stale, affirms that
     Whe IS an asswi^ of the law firm of ROSICKI. R08ICKI &ASSOCrATES, P.C. the
     ^011163^01 rmrd for the plaintiiTin the abov&-entitl^ action; that the foregoing disbuisements
     nave oew ormil necessarily be made orincurred in this action and are reasonable in amount and
     that copies ofdocuments or papers as charged herein were actually and necessarily obtained for
     use.


            The undesigned afGrms that the foregoing statements are true under the penalties of
     perjury.

     Dated: September 9,2016
            Fishkill, New York




                                              ^78nei P. Sis^ Esq.           '
19-12547-jlg   Doc 10   Filed 08/29/19     Entered 08/29/19 15:31:51   Main Document
                                         Pg 23 of 31




                                     Exhibit "B"
        19-12547-jlg      Doc 10     Filed 08/29/19       Entered 08/29/19 15:31:51          Main Document
                                                        Pg 24 of 31

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                                                                                     /S'-a7/S£J


             SUPREME COURT OF THESTATE OlP NEW YORK
             COUNTY OF NASSAU
             US BankNational Association, as Trustee, as Successor
             TVustee to Wachovia Bank, National Association as Trustee
             for Wells Pargo Asset Securities Corporation, Mortgage           TERMS OF SALE
             Pass-HiroughCertificates, Series2005-16,
                                                                              Index No. 138S8/2013
                                     Plaintifi9[s),
             V.


             Ronnie A.Bozeman; Keturah L.Sapp; Wells Faigo Bank,
             N^,

                                     Defenjdant(s).

                     The Premises, known as490 Keller Avenue,, Ehnont, NY 11003-3733 (Section 32 Block
             540 Lots 44&44), and described inthe advertisement ofthesale and inExhibit Aannexed hereto,
             will be sold inerne paicel by the Refiawg,Jransia Xi Mowmy, Esq.. lyon the Mowing tema;
                     1.      Ten percent oflhe purchase price      the Premises will be requited tobe paid for
             incash orby a certified dieck totte Referee attiie thne and the place ofthe sale, and fbr which a
             xece^ will be given.

                     2.      The balance ofNidpurdiase^cej^lb^requirBd to bepaid hi               or by a

             certified chedc to the Referee at his office at                                   WH«4.on

             September 5,2019, at 10:00 ajn., orany oUier location agreed tobythereferee when the
             Refiaee^s Deed will be ddivered. This sale is**Time ofthe Essence** inregard to Purchaser only.
             TheReferee isnot required to send anynotice to thePurchaser; andif purchaser faifa tocall at

            thetime and place above specified topay thebalance ofthepmchflBae laice and receive tbfe deed,
            ^Purchaser shall beinde&ult The Plaintiffshall have flieq>tion. initssole discretion and
            without leave ofcourt, to:(1) adjourn theclosing attherequest ofthepurchaser at which time
            the purchaser will be charged with hilerest atthe prevailingjudgmentrote from the origbial sale
            date (wfam^fiiial         was acc^tedbythereferee) through the eventual dnaing date onthe
             18-0715S3                                    TeniuofSale                                Pdge I of6
19-12547-jlg       Doc 10    Filed 08/29/19       Entered 08/29/19 15:31:51            Main Document
                                                Pg 25 of 31




     whole amount ofthe purchB^ price aswell asassuming lesponsibility              any and allcosts
     incurred as a result ofany adjournment ofdie closing, or(2) elect tore-schedule the fbrrolosure

     sale and the ten percent (10%) dqmsit given by purchaser to the Referee will be retained by the
     Refereeand appliedto the proceeds oftherescheduled fixreclosure.

             3.       HiePurchaser ofthe Premises, atthe time and the place ofsale, shall sign a

     Memorandum ofhis purchase^ andan Agreement to comply withthe tenns andconditioas of the

     Time is ofthe Essence saleherein contained, andifa closing is required and theReferee seeks
     andisawarded additional fees fersaid closmg, those fees shall bepaid bythepurchaser.
             4.       Ibe bidding will bek^qwn after tiie premises are struck down, and,-in case any

     purchaser shallM to conqsly with aqy oftheabove condidons ofthesale^ thepremises sostruck
     downto him will be againput up fer sale, underfte direction ofthe Referee, underdiesesame
     Temis of Sale, without application to ftis Court (unlessdie Attom^ fer the PlamUlGfshallelectto

     make suchapplication); and, such purchaser willbeheldliableforany deficiency there may be

     between the sumfer which thesaidpremises shallbestruck down upontiiesale, andtheprice for

     which        jnemises maybepurchased ontheresale^ plusanycosts orexpenses incuned forsudi
     resale, and, iqxm the purchasei'sdefinilt; the bid dqwdtshall automatically beforfeited and qpplied
     to theaforesaid deficient, ifany. Such forfeiture shall notbea waiver ofanyofiherights of&e

     Plfiand£fto seekandobtain damages fiom diede&ultbgBiddo:.

             5.       Incase thePlaintiffidiall bethepurchaser, or k theevent thattheri^ ofthe
     purchaser shallbeassigned to andbeacquired         thePlaintiffand a.valid Assignment titei^ffiled

     widitlieRefiace, theprovisions oftheJudgment ofForeclosure andSaleentered herehi, msofir as
     th^ relateto such a purchasebyor Assignment to the Plaindfl^ shallbe deemed included m these

     Terms of Sale,wilfa the sameforce and effect as iffolly set forth at length.
             6.       ThePremises shall besold inan "asis"{diydcalccHidition andsuljectto:

     ]84»7ISS3                                    TemitofSale                                   Page 2 of6
19-12547-jlg     Doc 10      Filed 08/29/19      Entered 08/29/19 15:31:51             Main Document
                                               Pg 26 of 31




                     (a)     Theteims and provisions of theJudgment of Foreclosure andSale are

     incoipoxated byreftrence hoein, with the same e£fect asfully set forth herein;
                     (b)     Anystateof&ctsanaccurate Survey would show;

                     (c)     Covenants, restrictions and Easements, ifany.ofieccndafifecting said
     mortgagedPktmises;

                     (d)    Anyviolation ofrecoidthaeo^ andto Zoning Regulations andOrdmances

     of theCi^, Town, or Village in which aid mortgaged Premises lie,andanyviolations of recoid

     thereoC or ]»ior liens, ifany;

                    (e)     The rifi^ifai^,ofthe United States ofAmerica, pursuant to1111628,
     Secd(m2410 ofthe UnitedStates Code;

                    (0      Any and all tenancies^ possessory interests and/or leases affecting said
     premises vdiether or nottheywere made party defendants; and
                    (g)     Hie ri^jbts ofany defimdants pursuant to CPLR §317, CPLR §2003 and
     CPLR§S015,ifai^.

            7.      NoAbstract ofTitle, stubsearch, or surv^ will belumished. AllTitle and/or

    AbstractrecitadonoriedadngchBiSMantherefl|)onffl1)ilityofdiePuidiaser. AlloftheeiqieDses
    ofrecQiding the Referee's Deed, including, but not limited to, all ofthe Deed stamps, transfertaxes,
    and recoidmg fees, ifany, shall be paid for by the Purchaser.            \
            8.      TheTitleTnsnmnftft, ifany,shall bepaidfer by



    Fee Title Insurance fiom a Title Insurance Company ofitsdioice, ensuring insurable Title. Hie
    premhmi forsuch a FeeTWe Insurance Policy ^          bepaid for bydiePurchaser.
            9.      Atorbefore fee time ofmakingabid, die Bidder, ifoflier than ifaePlafaitifl^ shall


    18-<)71553                                  'nsnnsofSale                                    PBge3of6
19-12547-jlg       Doc 10    Filed 08/29/19      Entered 08/29/19 15:31:51           Main Document
                                               Pg 27 of 31




     bid and also identifyfhemselves with name, addiess* and phone number.
             10.     Any sums advanced by Plaintiffsits ag»its after the sUe and priorto file lecoiding
     oftiie Deed for taxes, inspections, maintenance pieservation, etc., shall bereimbursed toPlaintiiF
     atthe time ofthe sale bythepmcfaaaer ofthe property.
             11.


     propertyafter the foreclosure sale.


            Dated:      %             ^


                                                          Referee




    18-071553                                  Toms ofSole                                   Page4of6
19-12547-jlg    Doc 10    Filed 08/29/19     Entered 08/29/19 15:31:51           Main Document
                                           Pg 28 of 31




                                    MKMOaAWDBMOgSAfje



                                                  hasthisdateagreed to purchase the Premises
     d^cribed in the annexed printed edvextisemeiit ofthesalefertile sumof$

     v/tddhadqmsitofSy^S^                   ,has beenreceived,and herebypromisesandagreesto
     complywith the tems and conditionsofthe sale ofsaid Premises,as above^nentionedandset

     ferdi.

     Dated:

                                                     r'HIIIC I'l'#n                            . >1
                                                     Refeee




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                                                     Purdiasei's Telqdu»ieNumber


                                                     Purchasei's Email Address

                                                                      -Tff-rc U,>                     (jy
                                                     Puidiasa^ Address

                                                                                                  10^1
                                                     Purchasei^Attorney


                                                     PrintName



                                                     Attorneys Tdqihone Number


                                                     Attorney's Email Address


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19-12547-jlg    Doc 10        Filed 08/29/19     Entered 08/29/19 15:31:51          Main Document
                                               Pg 29 of 31




     Recdvedftom                                                 tlieaumofl

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     above-entitied action.

     Dated:                      H
                                                        Fninftif              Btiq ^




                                        plaintiffs RECEIFT




     Thetenpercent deposit is waivi

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                                                        Shqnro, DiOBio & Baiak,LLC
                                                        Attnn^ ibr tiie Plaintiff




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19-12547-jlg       Doc 10     Filed 08/29/19        Entered 08/29/19 15:31:51               Main Document
                                                  Pg 30 of 31
                        FORECLOSURE AUCTION SURPLUSMONIES FORM
   SUPREME COURTOP THE STATEOF NEWYORK
    NASSAU COUNTY

                                                                       Foreclosure Auction Part
          U S
                                           Plaintifi^s),               Hon.Foreclo8ureJiidp!
          -against-                                                    IndexNo.              j
                                           l>efeiidant(8).

                                                             /he
   PropertyAddress:.              £jLi^ot^T                                   Sale Date:       8/6/19
   Weretheresurplus fimds?       [ ] Yes                   (] Referee doesnotknowas ofsale date

   As To he eomnlBted by HaferBi
   Judgment Amount
   Upset Price
   Sde Price
   Surplus Amount

   Bi HrihuM InfoiuMflim


                         JT                                         TBtephene:                    ~y^ ^"2—

   Addtna:               /f^HC                                                                           ^
   Signature and                                                          J *Seer^at9ftt$btfobehfw
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  Namafi6lea8ei                                              Name (plesse print):,


   Address:                                                  Address


                                VlS55
   Teleplwne:      C.
                Vi.              -2:2.7X
  Signature and Daie^                                        Signatured Date.^ y

  *Totfdnftr€efe9» to meed $750?            OYes               ^yetiSendaa^toFldudayQerkQffiee
  *Totidrefenefut to exceed SHOO?          07et


                                                                                                  n:00a.m.


  **ParClet ean file a receipt from tiie county treasurer as proofofdqiosit ofsurplus monies witli
  tlie court 1^ fai at 51(-493-3329 in lieu of appearance. Fax must indude index# and caption.
        19-12547-jlg      Doc 10    Filed 08/29/19        Entered 08/29/19 15:31:51        Main Document
                                                        Pg 31 of 31

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        8UFSEME CX>URT OF THE STATE OF NEW YORK
        COUNTY OFNASSAU                                                              _ _     ,
                                                               X       Index No. !               ^3
             U S
                                        Plaiiitifi(s)

                   -against-

                                                                       ORDER SUBCTirUTING REFEREE




                                       DefentdantCs)


PRESENT: HON.              Adami-ThomM A.


                   ORDERED, tiiatintidfl foxeclosuve auction, fte Judgement ofFoieclosuie andSaledated
                                           ^               y   K   y
    is hereby modified to Ifae extent AaL KM-Pn                                      fs/t fyck^Mr        /t^/Z/JVo
    New York, is herel^ substituted as Re&iee in placeand st«id of Fc^kJCtS                                    i
    y/ho is herein dischaiiedofall duties andobligations theieunder.


Dated: 8/m019
X




                                                        ENTER
